         Case 1:18-cv-02921-JMF Document 399 Filed 10/24/18 Page 1 of 3



October 24, 2018

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     Plaintiffs’ status update in State of New York, et al. v. U.S. Dep’t of Commerce, et
               al., 18-CV-2921 (JMF).

Dear Judge Furman,

         Pursuant to the Court’s October 23, 2018 Order (Docket No. 390), the Plaintiffs submit
this status letter describing the issues to be discussed at the October 24, 2018 status conference in
this matter.

        First, with respect to the deposition of John Gore, Defendants have represented that Mr.
Gore is next available on Friday, October 26; Plaintiffs intend to depose him on that date.
Plaintiffs have also scheduled the deposition of Sahra Park-Su for Thursday, October 25. The
deposition of Mark Neuman has been scheduled for Sunday, October 28; Mr. Neuman’s counsel
has represented that this is his first availability. The deposition of David Langdon has been
scheduled for Friday, October 26.

       Second, with respect to the status of open discovery items:

   Defendants produced more than 92,000 documents from the Departments of Commerce and
    Justice yesterday. Plaintiffs are still assessing the privilege assertions. Given the volume and
    timing of this production, as well as the scheduled depositions and ongoing discovery issues,
    while Plaintiffs will be prepared to submit an exhibit list by Friday, October 26 in accordance
    with the Court’s deadlines, Plaintiffs may seek leave to supplement that list given the
    impossibility of reviewing all 92,000 newly-produced pages in the next two days.
   With regard to Defendants’ October 16 production, Plaintiffs have raised questions about a
    certain deliberative privilege assertions related to other pre-December 2017 communications
    where the Defendants previously withdrew privilege assertions. Plaintiffs have also
    questioned why this production -- which was made pursuant to an agreement to resolve
    Plaintiffs’ fifth motion to compel for the Defendants to complete their search for
    Administrative Record materials by adding additional custodians and search terms — has not
    been designated as part of the Administrative Record;
   The privilege log for DOJ’s October 3 supplemental production fails to include sufficient
    information to allow Plaintiffs to assess the privilege claims as to two documents provided to
    Mr. Gore from the Department of Commerce, and whether any applicable privilege may have
    been waived by providing the document to Mr. Gore.
   Defendants have declined to produce transcripts from approximately 40 focus group testing
    conducted by the Census Bureau, despite being ordered by the Court to produce these records
    or assert any objections not already waived by September 20. Defendants have asserted that
    the entire transcripts must be withheld on the basis of Title 13, but have not provided a


                                                 1
          Case 1:18-cv-02921-JMF Document 399 Filed 10/24/18 Page 2 of 3



    sufficient justification why Title 13 information cannot be redacted. See Sept. 14 Hearing
    Tr. at 17-22; Docket No. 323; Docket No. 313.
   For the reasons described in the October 15 status report, Plaintiffs intend to seek further relief
    with respect to Interrogatory No. 1 – the interrogatory seeking information regarding
    individuals referenced but not identified in Secretary Ross’ June 21 memo.

        Third, Plaintiffs do not believe that the Supreme Court’s limited stay of the Court’s
September 21, 2018 Order (Dkt. 345) authorizing the testimony of Secretary Wilbur Ross bears
on the parties’ upcoming pre-trial or trial schedule. As this Court has recognized, “time is of the
essence” in this case. Transcript of Oral Argument at 77:2-6 (July 3, 2018). To the extent that
the Supreme Court ultimately permits this deposition to proceed, Plaintiffs can supplement the
record from trial with that deposition transcript; to the extent that Defendants ultimately file a
petition for certiorari1 and the Supreme Court precludes that deposition, Plaintiffs’ trial record
will be complete. But there is no basis to further delay adjudication of this matter.

        Last night, roughly 24 hours after the Supreme Court denied Defendants’ request for a
stay of this Court’s orders authorizing extra-record discovery and the deposition of John Gore,
and approximately eleven hours after the Department of Justice represented to Plaintiffs that they
“will not be asking for a stay of outstanding discovery,” see Ex. 1, Defendants filed their seventh
request for a stay. Docket No. 292, Docket No. 359, No. 18-2652 Docket No. 1 (2d Cir.), No.
18-2856 Docket No. 1 (2d Cir.), No. 18A350 (S. Ct.), No. 18A375 (S. Ct.). Fourteen judges
have thus far rejected Defendants’ efforts to halt these proceedings. Plaintiffs oppose for the
same reasons stated in opposition to Defendants’ six previous unsuccessful requests, and will be
prepared to file an opposition to Defendants’ motion by a deadline ordered by the Court.


        Respectfully submitted,

                                           BARBARA D. UNDERWOOD
                                           Attorney General of the State of New York

                                           By: /s/ Elena Goldstein
                                           Elena Goldstein, Senior Trial Counsel
                                           Matthew Colangelo
                                            Executive Deputy Attorney General
                                           Office of the New York State Attorney General
                                           28 Liberty Street
                                           New York, NY 10005
                                           Phone: (212) 416-6021
                                           Elena.goldstein@ag.ny.gov

                                           Attorneys for the State of New York Plaintiffs


1
 Fourteen days ago, Defendants represented that their petition for a writ of mandamus was “forthcoming.” See
Defendants’ Renewed Application for a Stay Pending Disposition of a Petition for a Writ of Mandamus at 6
(October 9, 2018). No such petition has yet been filed.

                                                        2
       Case 1:18-cv-02921-JMF Document 399 Filed 10/24/18 Page 3 of 3




                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   AMERICAN CIVIL LIBERTIES UNION

                                   By: /s/ John A. Freedman


Dale Ho                                           Andrew Bauer
American Civil Liberties Union Foundation         Arnold & Porter Kaye Scholer LLP
125 Broad St.                                     250 West 55th Street
New York, NY 10004                                New York, NY 10019-9710
(212) 549-2693                                    (212) 836-7669
dho@aclu.org                                      Andrew.Bauer@arnoldporter.com

Sarah Brannon*                                    John A. Freedman
American Civil Liberties Union Foundation         Arnold & Porter Kaye Scholer LLP
915 15th Street, NW                               601 Massachusetts Avenue, N.W.
Washington, DC 20005-2313                         Washington, DC 20001-3743
202-675-2337                                      (202) 942-5000
sbrannon@aclu.org                                 John.Freedman@arnoldporter.com
* Not admitted in the District of Columbia;
practice limited pursuant to D.C. App. R.
49(c)(3).

Perry M. Grossman
New York Civil Liberties Union Foundation
125 Broad St.
New York, NY 10004
(212) 607-3300 601
pgrossman@nyclu.org

                                   Attorneys for the NYIC Plaintiffs




                                              3
